               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 1 of 29




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13
                                   UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
                                             EUREKA DIVISION
16
      CASEY DENNING and NATALIA COLE,                    Case No.:
17    individually and on behalf of all others           Hon.
      similarly situated,
18
                    Plaintiffs,                            FLSA COLLECTIVE ACTION/
19    v.                                                 CLASS ACTION COMPLAINT AND
                                                                 JURY DEMAND
20    LOUD BUDDHA, LLC, PURA CALI
21    MANAGEMENT CORP., and DOES 1-50,
      jointly and severally, as
22
                    Defendants.
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                            COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                  Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 2 of 29




 1           Plaintiffs, CASEY DENNING and NATALIA COLE (hereinafter “Plaintiffs”), individually and

 2   on behalf of all others similarly situated, by and through their attorneys, hereby bring this Collective/Class

 3   Action Complaint against Defendants, LOUD BUDDHA, LLC, PURA CALI MANAGEMENT CORP.,

 4   and DOES 1-50 (hereinafter collectively referred to as “Defendants”), jointly and severally, and state as

 5   follows:

 6                                         JURISDICTION AND VENUE

 7           1.      This is a collective and class action brought for violations of the Fair Labor Standards Act

 8   of 1938, 29 U.S.C. § 201, et seq. (“FLSA”) as a FLSA § 216(b) collective action and California state-wide

 9   class action pursuant to Fed. R. Civ. P. 23(b)(3) for state law claims, including the California Labor Code

10   (“Labor Code”); the California Industrial Welfare Commission Wage Order No. 4; the California Business

11   & Professional Code section 17200, et seq.; and others as pleaded below.

12          2.       This Court has subject-matter jurisdiction over Plaintiffs’ FLSA claim pursuant to 29

13   U.S.C. §216(b), which provides that suit under the FLSA “may be maintained against any employer … in

14   any Federal or State court of competent jurisdiction.”

15          3.       This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28

16   U.S.C. § 1367(a) because this claim arises from a common set of operative facts and is so related to the

17   claims within this Court’s original jurisdiction that they form a part of the same case or controversy.

18          4.       This Court has general personal jurisdiction over Defendants because Defendants are

19   residents of and conduct business in this State, had systematic and continuous ties with this state, and had

20   agents and representatives in this state. Thus, Defendants have sufficient minimum contacts with or

21   otherwise purposefully avail themselves of the markets in the State of California, or otherwise has sufficient

22   contacts with this District to justify them being fairly brought into court in this District.

23           5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)-(d) because Plaintiffs and

24   at least some of the putative Class members worked and were paid in this District and the obligations,

25   liabilities, and breaches complained of herein arose or occurred in this District. Defendants own, operate,

26   and/or maintain offices, transact business, employ agents within the District, or otherwise are found within

27   the District. Defendants are within the jurisdiction of this Court for purpose of service of process.

28

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                              COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                   Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 3 of 29




 1                                                      PARTIES

 2            6.      Plaintiff, Casey Denning, is a resident of McKinleyville, California. He was employed by

 3   Defendants to cultivate and harvest cannabis from Pura Cali’s farm in Lake County, California from

 4   October 2019 through November 2019. He filed an FLSA consent form with this Complaint.

 5            7.      Plaintiff, Natalia Cole, is a resident of Eureka, California.      She was employed by

 6   Defendants to cultivate and harvest cannabis from Pura Cali’s farm in Lake County, California from

 7   October 2019 through November 2019. She also filed an FLSA consent form with this Complaint.

 8            8.      Defendant, Loud Buddha, LLC (“Loud Buddha”), is a California Limited Liability

 9   Company (State No. #201806510208) with a headquarters and service of process address listed as 210

10   Capitol St., Suite 8, Salinas, California 93901.

11            9.      Defendant, Pura Cali Management Corp. (“Pura Cali”), is a California corporation (State

12   No. #C4248431) with a headquarters and service of process address listed as 100 Shoreline Highway,

13   Building B, Suite 100, Mill Valley, California 94941.

14            10.     Does 1-50 are and were individuals, sole proprietorships, corporations, business entities,

15   persons, and partnerships, licensed to do business and/or actually doing business in the State of California.

16            11.     Defendants are in the business of cultivating and harvesting cannabis for its eventual sale.

17            12.     Defendant Loud Buddha is a cannabis cultivating, harvesting, and trimming company.

18   According to its online marketing materials, Loud Buddha’s “goal is to provide the cleanest cuts on the

19   West Coast. With our trustworthy cannabis trimming team your product will be in safe hands. Our system

20   is efficient and will be conducted in a timely manner. If your crop is ready to harvest, so are we.” 1

21            13.     According to its Facebook page, Loud Buddha operates in northern and southern

22   California.

23            14.     Upon information and belief, Loud Buddha contracts with numerous cannabis farms to

24   provide cultivating, harvesting, and trimming services.

25            15.     Defendant Pura Cali Management Corp. (“Pura Cali”) is a seed-to-sale breeding, cannabis,

26   hemp, extraction, distribution and dispensary company. The company describes itself on its website as “a

27
28   1   https://www.facebook.com/LoudBuddhaLLC/ (last visited November 21, 2019).

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                              COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                 Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 4 of 29




 1   state-of-the-art, fully integrated cannabis company founded to establish the standards for ‘artisan

 2   agriculture’ and the purest, highest quality organic cannabis available anywhere.” 2

 3            16.     Upon information and belief, Loud Buddha contracts with Pura Cali to provide cannabis

 4   cultivating, harvesting, and trimming services on Pura Cali’s marijuana farm in Lake County, California.

 5            17.     Defendant Loud Buddha is registered to conduct business in California and operates under

 6   California Secretary of State File Number #201806510208.

 7            18.     Defendant Pura Cali is registered to conduct business in California and operates under

 8   California Corporate Number #C4248431.

 9            19.     Defendants employed Plaintiffs as hourly cannabis cultivating, harvesting, and trimming

10   employees, referred to herein as “cannabis workers.” Defendants employed Plaintiffs, and hundreds of

11   other cannabis workers, in several locations throughout California, including in Lake County, California.

12            20.     Additional individuals who were or are employed by Defendants as cannabis workers

13   during the past three years will also file FLSA consent forms to join this case.

14            21.     The individuals Plaintiffs seek to represent in this collective and class action lawsuit are

15   current and former cannabis workers who are similarly situated to the named Plaintiff in terms of their

16   positions, job duties, compensation, and Defendants’ violations of federal and state law.

17                                      INTRA-DISTRICT ASSIGNMENT

18            22.     A substantial part of the events or omissions which give rise to the claims occurred in Lake

19   County, and therefore this action is properly assigned to the Eureka Division. N.D. Cal. Local Rule 3-

20   2(c)-(f).

21                                          GENERAL ALLEGATIONS

22            23.     Plaintiff, Casey Denning, was employed by Defendants as cannabis worker in Lake

23   County, California from October 2019 through November 2019. In that position, he was compensated on

24   an hourly basis and typically worked more than 40 hours per week (and more than 8 or 12 hours per day).

25            24.     Plaintiff, Natalia Cole, was employed by Defendants as cannabis worker in Lake County,

26   California from October 2019 through November 2019. In that position, she was compensated on an

27   hourly basis and typically worked more than 40 hours per week (and more than 8 or 12 hours per day).

28
     2
         https://www.puracali.com/ (last visited November 20, 2019).
                                                     3
                              COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 5 of 29




 1          25.       Defendants’ business model relies upon growing cannabis and employing cannabis

 2   workers who are responsible for cultivating, harvesting, and trimming the product in preparation for its

 3   eventual sale.

 4          26.       Defendants advertise for cannabis workers through job postings on websites like Craig’s

 5   List, Indeed, and Facebook. For example:

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16          27.       Plaintiff Denning responded to an ad on Craig’s List and spoke with a Loud Buddha
17   recruiter (Rachel) who told Denning that work was available for him and others if he knew other people
18   who needed work.
19          28.       Defendants offered to pay Plaintiffs and other cannabis workers an hourly rate of
20   approximately $15.00.
21          29.       Later that night, Plaintiffs Denning and Cole drove to Eureka, California, to meet with a
22   Loud Buddha supervisor, Theodore “Cruz” Cross, who explained that they were going into the mountains
23   for a “trim job” which included cultivating, harvesting, bucking, mulching, and freezing marijuana plants.
24          30.       Shortly thereafter, a group of about five people, including Plaintiffs, Cross, another Loud
25   Buddha supervisor, Matt Hall, and one other cannabis worker, joined up to travel together to Pura Cali’s
26   marijuana farm in Lake County, California.
27          31.       The group traveled 3-4 hours to Pura Cali’s marijuana farm that night, arrived at the Pura
28   Cali farm at approximately 1:30 a.m., and slept in their vehicles until the gates opened at about 7:00 a.m.

                                                     4
                              COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 6 of 29




 1           32.    Once the gates were opened, the group traveled up to a house where numerous other

 2   cannabis workers appeared to be living and working on the Pura Cali farm. The Plaintiffs were told that

 3   they would also be living on the farm and sleeping on cots.

 4           33.    Plaintiffs and other cannabis workers began their work for Defendants that same morning

 5   at approximately 8:00 a.m.

 6           34.    Thereafter, Defendants required Plaintiffs and other cannabis workers to work

 7   approximately twelve (12) hours per day, seven (7) days per week.

 8           35.    Plaintiffs’ and other cannabis workers’ performed job duties which included: (a) cultivating

 9   marijuana plants; (b) de-leafing marijuana plants; (c) harvesting marijuana plants; (d) bucking marijuana

10   plants; (e) hanging marijuana plants; and (f) placing the marijuana plants in large commercial freezers,

11   which were then hauled away by Defendants.

12           36.    Plaintiffs and other cannabis workers accomplished this work manually with tools

13   including but not limited to scissors, shears, and sifting grates.

14           37.    Plaintiffs and the other cannabis workers performed the same basic job duties.

15           38.    At any given time, there were over 50 cannabis workers performing this work for

16   Defendants resulting in the production of multiple tons of cannabis per year from Pura Cali’s marijuana

17   farm.

18           39.    Throughout their employment with Defendants, Plaintiffs and other cannabis workers were

19   required to work a substantial amount of daily and weekly overtime.

20           40.    Defendants loosely tracked Plaintiffs’ and other cannabis workers’ time by writing their

21   hours on loose-leaf notebooks. However, the hours were typically incorrect and rounded down to benefit

22   Defendants.

23           41.    Defendants failed to provide meal and rest breaks to Plaintiffs and other cannabis workers

24   as required by law.

25           42.    Defendants failed to reimburse Plaintiffs and other cannabis workers for the expenses

26   incurred in performing their work (e.g., hotel stays, meals, travel, etc.).

27           43.    Defendants had strict expectations that their cannabis workers would remain working in

28   the mountains all day, every scheduled day, and Defendants threatened discipline if a cannabis worker

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                             COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 7 of 29




 1   failed to do so.

 2           44.        Defendants often required Plaintiffs and other cannabis workers to work through unpaid

 3   meal periods. Under the federal law, in order to deduct an unpaid meal period from an employees’

 4   compensable time, an employee must be completely relieved of his or her employment duties for the entire

 5   lunch break. 29 CFR 785.19(a) states:

 6           Bona fide meal periods. Bona fide meal periods are not work time. Bona fide meal periods
 7           do not include coffee breaks or time for snacks. These are rest periods. The employee must
             be completely relieved from duty for the purposes of eating regular meals. Ordinarily 30
 8           minutes or more is long enough for a bona fide meal period. A shorter period may be long
             enough under special conditions. The employee is not relieved if he is required to perform
 9           any duties, whether active or inactive, while eating. For example, an office employee who
             is required to eat at his desk or a factory worker who is required to be at his machine is
10
             working while eating. (emphasis added).
11           45.        Likewise, under California law, employers must provide a meal period of at least 30
12   minutes for every five (5) hours worked. Cal. Lab. Code § 512(a) states:
13          An employer may not employ an employee for a work period of more than five hours per
            day without providing the employee with a meal period of not less than 30 minutes, except
14          that if the total work period per day of the employee is no more than six hours, the meal
            period may be waived by mutual consent of both the employer and employee. An employer
15
            may not employ an employee for a work period of more than 10 hours per day without
16          providing the employee with a second meal period of not less than 30 minutes, except that
            if the total hours worked is no more than 12 hours, the second meal period may be waived
17          by mutual consent of the employer and the employee only if the first meal period was not
            waived.
18
             46.        Additionally, the applicable Industrial Welfare Commission Wage Order states that an
19
     employee is also entitled to a ten (10) minute break for each four (4) hour period, or major fraction thereof,
20
     worked.
21
             47.        Nevertheless, Defendants failed to provide Plaintiffs and other cannabis workers with a 30-
22
     minute meal period for every five (5) hours worked, or a rest period for each four (4) hour period worked.
23
     Accordingly, Plaintiffs and the other cannabis workers are entitled to one additional hour of compensation
24
     per workday for a missed meal and rest period.
25
             48.        Defendants paid Plaintiffs’ and other cannabis workers’ wages by way of envelopes filled
26
     with cash. In doing so, Defendants did not calculate overtime pay; rather, Plaintiffs and other cannabis
27
     workers were paid the flat $15.00 hourly rate for all hours worked.
28
             49.        Often times, Defendants failed to pay Plaintiffs and other cannabis workers for all time
                                                       6
                                COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 8 of 29




 1   worked even at the flat $15.00 hourly rate.

 2           50.        Often times, Defendants failed to pay Plaintiffs and other cannabis workers in a timely

 3   manner, and sometimes not at all.

 4           51.        Defendants’ time records were in large part inaccurate, unreliable, and did not comply with

 5   the FLSA’s record keeping requirements. See 29 U.S.C. § 211(c).

 6           52.        Defendants also failed to provide accurate wage statements to Plaintiffs and other cannabis

 7   workers; in fact, Defendants failed to provide any wage statements at all.

 8           53.        The hours reflected on the cannabis workers’ paystubs are not accurate, were contrived by

 9   Defendants, and have no relation to the hours the cannabis workers actually worked for Defendants. This

10   is a violation of Cal. Lab. Code § 226, which requires that the employer provide accurate wage statements.

11           54.        Defendants knew or could have easily determined how long it took for their cannabis

12   workers to complete their unpaid work, and Defendants could have properly compensated Plaintiffs and

13   the other cannabis workers for their work, but they did not.

14           55.        Plaintiffs and many other cannabis workers were either fired or quit and did not receive

15   their final pay.

16           56.        At all relevant times, Defendants directed and directly benefited from the uncompensated

17   work performed by Plaintiffs and other cannabis workers.

18           57.        Defendants knew or should have known that Plaintiffs and other cannabis workers’ work

19   was compensable under the law. Indeed, in light of the applicable statutory provisions, there is no

20   conceivable way for Defendants to establish that it acted in good faith.

21           58.        Plaintiffs seek a declaration that their rights, and the rights of the putative Collective and

22   Class, were violated, an award of unpaid wages, an award of liquidated damages, injunctive and

23   declaratory relief, attendant penalties, and award of attorneys’ fees and costs to make them whole for

24   damages they suffered, and to ensure that they and future workers will not be subjected by Defendants to

25   such illegal conduct in the future.

26                                       JOINT EMPLOYER ALLEGATIONS

27           59.        Under the FLSA, “employer” is defined as “any person acting directly or indirectly in the

28   interest of an employer in relation to an employee. 29 U.S.C. § 203(d).

                                                       7
                                COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 9 of 29




 1          60.     The definition of “employer” under the FLSA is not limited by the common law concept

 2   of “employer,” and is to be given an expansive interpretation in order to effectuate the FLSA’s broad

 3   remedial purposes. Real v. Driscoll Strawberry Assocs., 603 F.2d 748, 754 (9th Cir. 1979).

 4          61.     Congress defined “employee” as “any individual employed by an employer,” 29 U.S.C. §

 5   203(e)(1), describing this language as “the broadest definition that has ever been included in any one act.”

 6   United States v. Rosenwasser, 323 U.S. 360, 363 n.3, 65 S.Ct. 295, 89 L.Ed. 301 (1945) (quoting 81 Cong.

 7   Rec. 7657 (1937) (statement of Sen. Hugo Black)); Tony & Susan Alamo Found. v. Sec'y of Labor, 471

 8   U.S. 290, 300 n.21, 105 S.Ct. 1953, 85 L.Ed.2d 278 (1985) (same).

 9          62.     The determination of whether an employer-employee relationship exists does not depend

10   on “isolated factors but rather upon the circumstances of the whole activity.” Rutherford Food Corp. v.

11   McComb, 331 U.S. 722, 730, 67 S.Ct. 1473, 1477, 91 L.Ed. 1772 (1947). The touchstone is “economic

12   reality.” Goldberg v. Whitaker House Cooperative, Inc., 366 U.S. 28, 33, 81 S.Ct. 933, 936, 6 L.Ed.2d

13   100 (1961).

14          63.     Two or more employers may jointly employ someone for purposes of the FLSA. Falk v.

15   Brennan, 414 U.S. 190, 195, 94 S. Ct. 427, 431, 38 L.Ed.2d 406 (1973).

16          64.     All joint employers are individually responsible for compliance with the FLSA. 29 C.F.R.

17   § 791.2(a) (1981).

18          65.     Regulations issued by the Department of Labor give the following examples of joint

19   employment situations:

20                  (2) Where one employer is acting directly or indirectly in the interest of the other
                    employer (or employers) in relation to the employee; or
21
                    (3) Where the employers are not completely disassociated with respect to the
22                  employment of a particular employee and may be deemed to share control of the
                    employee, directly or indirectly, by reason of the fact that one employer controls,
23                  is controlled by, or is under common control with the other employer.
24   29 C.F.R. § 791.2(b) (footnotes omitted).
25          66.     The ultimate question of whether a party is an “employer” is a legal issue. Bonnette v.
26   California Health & Welfare Agency, 704 F.2d 1465, 1469–70 (9th Cir. 1983).                   The ultimate
27   determination must be based “upon the circumstances of the whole activity.” Id. at 1470 (citing
28   Rutherford Food Corp. v. McComb, 331 U.S. 722, 67 S.Ct. 1473, 1477, 91 L.Ed. 1772 (1947).

                                                   8
                            COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 10 of 29




 1           67.     Defendant Loud Buddha contracted with Pura Cali to cultivate, harvest, and trim cannabis

 2   from its farm in Lake County, California.

 3           68.     Plausibly, by Defendants’ exercise of control, input, and responsibility for issuing accurate,

 4   legitimate, and proper paychecks for the Plaintiffs’ and all other cannabis workers, they meet the test for

 5   joint employer.

 6           69.     Defendants controlled the rate and method of wage payment for the cannabis workers.

 7   Conde v. Open Door Mktg., LLC, 223 F. Supp. 3d 949, 967 (N.D. Cal. 2017) (finding multiple companies

 8   and individual defendants were joint employers of sales and marketing workers).

 9           70.     Defendants controlled and dictated when each cannabis worker could take their meal and

10   rest breaks.

11           71.     Defendants maintained employment records in connection with their cannabis workers,

12   albeit incorrectly.

13           72.     Defendants provided all the necessary tools, equipment and materials used by the cannabis

14   workers. Specifically, they provided the scissors, shears, grates, and other tools necessary for the cannabis

15   workers to perform their work.

16           73.     Plausibly, by Defendants providing all necessary tools, equipment and materials used by

17   the cannabis workers, they meet the test for joint employer.

18           74.     Defendants controlled the hiring and firing of cannabis workers. Specifically, Defendants

19   had the authority to hire and fire cannabis workers as they saw fit, and carried out the hiring and firing of

20   cannabis workers on a regular basis.

21           75.     Plausibly, by Defendants’ exercise of control, input, and responsibility over the hiring and

22   firing of cannabis workers, they meet the test for joint employer.

23           76.     Regardless of any of the individual criteria for joint employer, Defendants also had

24   complete economic control over the employment relationship. The “economic reality” was that they

25   employed cannabis workers to perform cultivating, harvesting, and trimming services for their benefit,

26   and thus they meet the test for joint employer. Bonnette, supra at 1470.

27           77.     The fact that some Defendants may not have exercised each and every aspect of the test for

28   employer under the law, and may have delegated some of the responsibilities to others, does not alter their

                                                    9
                             COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 11 of 29




 1   status as employer; it merely makes them joint employers. Id.

 2          78.     Whether employers, or joint employers, each Defendant is nevertheless liable for the wage

 3   violations pleaded in this Complaint. Falk, supra; 29 C.F.R. § 791.2(a).

 4          79.     The above well-pleaded facts all support Plaintiffs’ standing to sue each and every

 5   Defendant named herein as a joint employer and seek damages for the alleged violations under a joint

 6   employment theory. Conde v. Open Door Mktg., LLC, 223 F. Supp. 3d 949, 966 (N.D. Cal. 2017);

 7   Haralson v. United Airlines, Inc., 224 F. Supp. 3d 928, 940 (N.D. Cal. 2016).

 8          80.     Upon information and belief, Defendants jointly employed hundreds of cannabis workers

 9   – including Plaintiffs – in California during the last four years to perform cultivating, harvesting, and/or

10   trimming services.

11          81.     Plaintiffs are informed and believe, and allege thereon, that Defendants are jointly and

12   severally responsible for the circumstances alleged herein, and proximately caused Plaintiffs the

13   fraudulent, unlawful, unfair, and deceptive acts and wage violations complained of herein.

14          82.     At all times herein mentioned, Defendants approved of, condoned, and/or otherwise

15   ratified each and every one of the acts or omissions complained of herein.

16          83.     Defendants acted willfully in violating the laws and regulations pleaded in this Complaint.

17          84.     At all times herein mentioned, Defendants’ acts and omissions proximately caused the

18   complaints, injuries, and damages alleged herein.

19                             FLSA COLLECTIVE ACTION ALLEGATIONS

20          85.     Plaintiffs bring this action pursuant to 29 U.S.C. § 216(b) of the FLSA on their own behalf

21   and on behalf of:

22                  All current and former hourly cannabis workers who worked for any
23                  Defendants at any time during the past three years.
     (hereinafter referred to as the “FLSA Collective”). Plaintiffs reserve the right to amend this definition if
24
     necessary.
25
            86.     Defendants are liable under the FLSA for, inter alia, failing to properly compensate
26
     Plaintiffs and other similarly situated cannabis workers.
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            87.     Excluded from the proposed FLSA Collective are Defendants’ executives, administrative
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                             COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
              Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 12 of 29




 1   and professional employees, including computer professionals and outside sales persons.

 2          88.     Consistent with Defendants’ policy and pattern or practice, Plaintiffs and the members of

 3   the FLSA Collective were not paid premium overtime compensation when they worked beyond 40 hours

 4   in a workweek.

 5          89.     All of the work that Plaintiffs and the FLSA Collective members performed was assigned

 6   by Defendants, and/or Defendants were aware of all of the work that Plaintiffs and the FLSA Collective

 7   members performed.

 8          90.     As part of its regular business practice, Defendants intentionally, willfully, and repeatedly

 9   engaged in a pattern, practice, and/or policy of violating the FLSA with respect to Plaintiffs and the FLSA

10   Collective members. This policy and pattern or practice includes, but is not limited to:

11                  a. willfully failing to pay its employees, including Plaintiffs and the FLSA Collective, for
12                     all hours worked including premium overtime wages for all hours worked in excess of
                       40 hours per workweek; and
13
                    b. willfully failing to accurately record all of the time that its employees, including
14                     Plaintiffs and the FLSA Collective, worked for Defendants’ benefit.
15          91.     Defendants are aware or should have been aware that federal law required them to pay
16   Plaintiffs and the FLSA Collective overtime premiums for all hours worked in excess of 40 per workweek.
17          92.     Defendants failed to properly maintain timekeeping and payroll records pertaining to the
18   FLSA Collective under the FLSA, 29 U.S.C. 211(c).
19          93.     Defendants’ unlawful conduct was widespread, repeated, and consistent.
20          94.     A collective action under the FLSA is appropriate because the employees described above
21   are “similarly situated” to Plaintiffs under 29 U.S.C. § 216(b). The employees on behalf of whom Plaintiffs
22   bring this collective action are similarly situated because: (a) they have been or are employed in the same
23   or similar positions; (b) they were or are performing the same or similar job duties; (c) they were or are
24   subject to the same or similar unlawful practices, policy, or plan; and (d) their claims are based upon the
25   same factual and legal theories.
26          95.     The employment relationships between Defendants and every proposed FLSA Collective
27   member are the same and differ only by name, location, and rate of pay. The key issues – the amount of
28   uncompensated off-the-clock work owed to each employee – does not vary substantially among the

                                                   11
                            COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 13 of 29




 1   proposed FLSA Collective members.

 2          96.     There are many similarly situated current and former cannabis workers who were

 3   underpaid in violation of the FLSA who would benefit from the issuance of a court-authorized notice of

 4   this lawsuit and the opportunity to join it.

 5          97.     Notice should be sent to the FLSA Collective pursuant to 29 U.S.C. § 216(b).

 6          98.     Those similarly situated employees are known to Defendants, are readily identifiable, and

 7   can be located through Defendants’ records.

 8          99.     Plaintiffs estimate the proposed FLSA Collective, including both current and former

 9   employees over the relevant period will include several hundred workers. The precise number of FLSA

10   Collective members should be readily available from a review of Defendants’ personnel and payroll

11   records.

12                                 RULE 23 CLASS ACTION ALLEGATIONS

13          100.    Plaintiffs bring this action pursuant to Fed. R. Civ. P. 23(b)(3) on their own behalf and on

14   behalf of all similarly situated current and former cannabis workers of Defendants who are or were

15   employed at any time in the last four years. Plaintiffs propose the following class definition:

16                  All current and former hourly cannabis workers who worked for any
17                  Defendants at any time during the past four years through certification of
                    the class.
18
     Plaintiffs reserve the right to amend the putative class definition if necessary.
19
            101.    Plaintiffs share the same interests as the putative Class and will be entitled under the
20
     California Labor Code to unpaid overtime compensation, attorneys’ fees, and costs and lost interest owed
21
     to them under nearly identical factual and legal standards as the remainder of the putative class.
22
            102.    The putative Class meets the numerosity requirement of Rule 23(a)(1) because, during the
23
     relevant period, Defendants employed hundreds of cannabis workers in California. The Class members
24
     are so numerous that joinder of all such persons is impracticable and that the disposition of their claims in
25
     a class action rather than in individual actions will benefit the parties and the Court. The precise number
26
     of Class members should be readily available from a review of Defendants’ personnel, scheduling, time,
27
     phone, online social media, and payroll records, and from input received from the putative Class members.
28
            103.    The putative Class meets the commonality requirement of Rule 23(a)(2) because, during
                                                    12
                             COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 14 of 29




 1   the relevant period, Defendants engaged in a common course of conduct that violated the legal rights of

 2   Plaintiffs and the Class. Individual questions that Plaintiffs’ claims present, to the extent any exist, will

 3   be far less central to this litigation than the numerous material questions of law and fact common to the

 4   Class, including but not limited to:

 5                  a. Whether Defendants engaged in a policy or practice of failing to pay each Class
                       member regular wages for each non-overtime hour worked.
 6
                    b. Whether Defendants engaged in a policy or practice of failing to pay each Class
 7                     member overtime compensation for each overtime hour worked;
 8                  c. Whether Defendants violated Labor Code sections 221 and 223 by making
 9                     unlawful deductions to Class members’ wages;

10                  d. Whether Defendants failed to provide each Class member with at least one 30-
                       minute meal period on every workday of at least 5 hours and a second 30-
11                     minute meal period on every workday of at least 10 hours as required by the
                       California Employment Law and Regulations;
12
13                  e. Whether Defendants violated sections 201 to 203 of the Labor Code by willfully
                       failing to pay all wages and compensation due each Class member who quit or
14                     who was discharged;
15                  f. Whether Defendants violated section 226 of the Labor Code by willfully failing
                       to provide accurate itemized wage statements showing, inter alia, the number
16
                       of hours worked by each Class member and the corresponding hourly rate;
17
                    g. Whether Defendants violated sections 1174 and 1175 of the Labor Code and
18                     the applicable Industrial Welfare Commission Orders by failing to maintain
                       records pertaining to when Class members began and ended each work period,
19                     the total daily hours worked, and the total hours worked per pay period;
20                  h. Whether Defendants violated section 510 of the Labor Code and the applicable
21                     Industrial Welfare Commission Orders by failing to accurately calculate regular
                       rates of pay for overtime purposes;
22
                    i. Whether Defendants violated section 2208 of the Labor Code by willfully
23                     failing to reimburse each Class member any reasonable business expenses
                       incurred;
24
25                  j. Whether Defendants were unjustly enriched by the work and services
                       performed by Class members without compensation;
26
                    k. Whether Defendants engaged in unfair business practices in violation of
27                     Business and Professions Code section 17200, et seq.;
28                  l. Whether Defendants breached their duty of good faith and fair dealing by
                                                    13
                             COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 15 of 29




                        limiting or manipulating the leads given to their Cannabis workers; and
 1
                    m. Whether Defendants should be required to pay compensatory damages,
 2
                       attorneys’ fees, penalties, costs, and interest for violating California state law.
 3
            104.    The status of all individuals similarly situated to Plaintiffs raises an identical legal question:
 4
     whether Defendants’ cannabis workers are entitled to back wages, including overtime.
 5
            105.    The putative Class meets the typicality requirement of Rule 23(a)(3) because Plaintiffs and
 6
     the putative Class members were all employed by Defendants and performed their job duties without
 7
     receiving all wages, including overtime wages, owed for that work.
 8
            106.    The Class meets the adequacy requirement of Rule 23(a)(4) because there is no apparent
 9
     conflict of interest between Plaintiffs and the putative Class members, and because Plaintiffs’ attorneys
10
     have successfully prosecuted many complex class actions, including wage and hour class and collective
11
     actions, and will adequately represent the interests of Plaintiffs and the putative Class members.
12
            107.    The putative Class meets the predominance requirement of Rule 23(b)(3), because issues
13
     common to the Class predominate over any questions affecting only individual members, including but
14
     not limited to, those listed above.
15
            108.    The Class meets the superiority requirement of Rule 23(b)(3) because allowing the parties
16
     to resolve this controversy through a class action would permit a large number of similarly situated persons
17
     to prosecute common claims in a single forum simultaneously, efficiently, and without the unnecessary
18
     duplication of evidence, effort, or expense that numerous individual actions would engender.
19
            109.    Given the material similarity of the Class members’ claims, even if each Class member
20
     could afford to litigate a separate claim, this Court should not countenance or require the filing of hundreds
21
     or even thousands of identical actions. Individual litigation of the legal and factual issues raised by
22
     Defendants’ conduct would cause unavoidable delay, a significant duplication of efforts, and an extreme
23
     waste of resources. Alternatively, proceeding by way of a class action would permit the efficient
24
     supervision of the putative Class’s claims, create significant economies of scale for the Court and the
25
     parties and result in a binding, uniform adjudication on all issues.
26
27
28

                                                    14
                             COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 16 of 29




 1                                                   COUNT I

 2                               VIOLATION OF FLSA, 29 U.S.C. § 201, et seq.
                                   FAILURE TO PAY OVERTIME WAGES
 3
            110.    Plaintiffs re-allege and incorporate all previous paragraphs herein.
 4
            111.    At all times relevant to this action, Defendants were engaged in interstate commerce, or in
 5
     the production of goods for commerce, as defined by the FLSA.
 6
            112.    At all times relevant to this action, Plaintiffs were “employees” of Defendants within the
 7
     meaning of 29 U.S.C. § 203(e)(1) of the FLSA.
 8
            113.    Plaintiffs and the FLSA Collective members, by virtue of their job duties and activities
 9
     actually performed, are all non-exempt employees. See Kenney v. Helix TCS, Inc., 939 F.3d 1106 (10th
10
     Cir. 2019) (holding that cannabis workers are covered by the FLSA).
11
            114.    Plaintiffs either: (1) engaged in commerce; or (2) engaged in the production of goods for
12
     commerce; or (3) were employed in an enterprise engaged in commerce or in the production of goods for
13
     commerce.
14
            115.    At all times relevant to this action, Defendants “suffered or permitted” Plaintiffs and all
15
     similarly situated current and former employees to work and thus “employed” them within the meaning of
16
     29 U.S.C. § 203(g) of the FLSA.
17
            116.    At all times relevant to this action, Defendants required Plaintiffs and the FLSA Collective
18
     members to perform off-the-clock work each shift, but failed to pay these employees the federally mandated
19
     overtime compensation for this work.
20
            117.    The off-the-clock work performed every shift by Plaintiffs and the FLSA Collective
21
     members is an essential part of their jobs and these activities and the time associated with these activities
22
     is not de minimis.
23
            118.    In workweeks where Plaintiffs and other FLSA Collective members worked 40 hours or
24
     more, the uncompensated off-the-clock work time, and all other overtime should have been paid at the
25
     federally mandated rate of 1.5 times each employee’s regularly hourly wage. 29 U.S.C. § 207.
26
            119.    Defendants’ violations of the FLSA were knowing and willful. Defendants knew or could
27
     have determined how long it took for their cannabis workers to perform their off-the-clock work. Further,
28
     Defendants could have easily accounted for and properly compensated Plaintiffs and the FLSA Collective
                                                    15
                             COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 17 of 29




 1   for these work activities, but did not.

 2          120.    The FLSA, 29 U.S.C. § 216(b), provides that as a remedy for a violation of the Act, each

 3   employee is entitled to his or her unpaid wages (including unpaid overtime), plus an additional equal

 4   amount in liquidated damages (double damages), plus costs and reasonable attorneys’ fees.

 5                                                   COUNT II
 6                    VIOLATION OF CALIFORNIA LABOR CODE §§ 510, 1194, 1198
                       AND IWC WAGE ORDER 4 – FAILURE TO PAY OVERTIME
 7
            121. Plaintiffs re-allege and incorporate all previous paragraphs herein.
 8
            122. At all relevant times, Defendants regularly and consistently maintained corporate policies
 9
     and procedures designed to reduce labor costs by reducing or minimizing the amount of compensation
10
     paid to its employees, especially overtime compensation.
11
            123. At all relevant times, Plaintiffs and the Class regularly performed non-exempt work and
12
     were thus subject to the overtime requirements of California law.
13
            124. Labor Code §§ 510 and 1198 and Industrial Welfare Commission (“IWC”) Wage Order No.
14
     4 § 3(A) provide that: (a) employees are entitled to compensation at the rate of one and one-half times
15
     their regular rate of pay for all hours worked in excess of eight (8) hours in a workday up to twelve (12)
16
     hours in a workday, in excess of forty (40) hours in a workweek, and for the first eight (8) hours of work
17
     on the seventh (7th) consecutive day or a workweek; and (b) employees are entitled to compensation at the
18
     rate of twice their regular rate of pay for all hours worked in excess of twelve (12) hours in a workday,
19
     and in excess of eight (8) hours on the seventh (7th) consecutive day of work in a workweek.
20
            125. At all relevant times, Plaintiffs and the Class regularly worked in excess of eight (8) hours in a
21
     workday, twelve (12) hours in a workday, and/or in excess of forty (40) hours in a workweek.
22
            126.    At all relevant times, Defendants failed and refused to pay Plaintiffs and the Class members
23
     for any and all hours actually worked in excess of their scheduled shifts.
24
            127.    Defendants intentionally, maliciously, fraudulently and with the intent to deprive the Class of
25
     their ability to earn a living so as to reduce their labor costs, knowingly and willingly implemented a scheme
26
     or artifice to avoid paying overtime by reducing the rate of pay to Plaintiffs and other Class members who
27
     worked overtime hours.
28
            128. Plaintiffs and the Class were entitled to receive overtime compensation at their lawful
                                                     16
                              COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 18 of 29




 1   regular rate of pay, including the shift differential where applicable. Defendants’ failure to pay lawful

 2   premium overtime wages, as alleged above, was a willful violation of Labor Code §§ 510, 1198, and IWC

 3   Wage Order No. 4.

 4          129. Wherefore, Plaintiffs demand payment of the unpaid balance of the full amount of wages

 5   due for unpaid time worked, as well as overtime premiums owing, including interest thereon, penalties,

 6   reasonable attorneys’ fees, and costs of suit pursuant to Labor Code §§ 1194 and 1194.2 as a result of

 7   Defendants’ failure to pay for all time worked and such premium compensation, as is required under

 8   California law.

 9                                                     COUNT III

10                       VIOLATION OF CALIFORNIA LABOR CODE §§ 221 and 223
                                     UNLAWFUL DEDUCTIONS
11
            130.       Plaintiffs re-allege and incorporate all previous paragraphs herein.
12
            131. At all relevant times, Defendants regularly and consistently maintained corporate policies
13
     and procedures designed to reduce labor costs by reducing or minimizing the amount of compensation
14
     paid to its employees, especially overtime compensation.
15
            132. Defendants made deductions from Plaintiffs’ and the Class members’ pay in the amount of
16
     the overtime premiums earned by the employee during the pay period so as to avoid paying overtime
17
     compensation. Defendants, further, made deductions from Plaintiffs’ and the Class members’ pay in the
18
     amount of any unpaid wages.
19
            133. Labor Code § 221 provides it is unlawful for any employer to collect or receive from an
20
     employee any part of wages theretofore paid by employer to employee.
21
            134.       Labor Code § 223 provides that where any statute or contract requires an employer to
22
     maintain the designated wage scale, it shall be unlawful to secretly pay a lower wage while purporting to
23
     pay the wage designated by statute or by contract. Labor Code section 225 further provides that the
24
     violation of any provision of Labor Code §§ 221 and 223 is a misdemeanor.
25
            135.       As a result of the conduct alleged above, Defendants unlawfully collected or received from
26
     Plaintiffs and the Class part of the wages paid to their employees.
27
            136.       Wherefore, Plaintiffs demand the return of all wages unlawfully deducted from the
28
     paychecks, including interest thereon, penalties, reasonable attorneys’ fees, and costs of suit pursuant to
                                                      17
                               COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 19 of 29




 1   Labor Code §§ 225.5 and 1194.

 2                                                  COUNT IV
 3
                      VIOLATION OF CALIFORNIA LABOR CODE §§ 226.7 and 512
 4                        FAILURE TO PROVIDE MEAL AND REST BREAKS

 5          137.    Plaintiffs re-allege and incorporate all previous paragraphs herein.

 6          138.    Labor Code § 512, and IWC Wage Order No. 4 § 11(A) and (B) provide that an employer

 7   may not employ a person for a work period of more than five (5) hours without providing the employee with

 8   a meal period of not less than thirty (30) minutes, and may not employ an employee for a work period of

 9   more than ten (10) hours per day without providing the employee with a second meal period of not less

10   than (30) minutes.

11          139.    Additionally, Defendants are required to provide a rest period of ten (10) minute break for

12   each four (4) hour period, or major fraction thereof, worked.

13          140.    At all relevant times, Plaintiffs and the Class consistently worked in excess of five (5) or

14   ten (10) hours in a day.

15          141.    At all relevant times, Defendants regularly required employees to perform work during

16   their first and/or second meal periods, without proper compensation. Further, Defendants did not provide

17   rest breaks as is required by California law. Defendants’ practice of requiring employees to perform work

18   during their legally mandated meal and rest periods without premium compensation is a violation of Labor

19   Code §§ 226.7 and 512, and IWC Wage Order No. 4.

20          142.    Defendants purposefully elected not to provide meal and rest periods to Plaintiffs and Class

21   members, and Defendants acted willfully, oppressively, and in conscious disregard of the rights of

22   Plaintiffs and the Class members in failing to do so.

23          143.    Plaintiffs are informed and believe Defendants did not properly maintain records pertaining

24   to when Plaintiffs and the Class members began and ended each meal period, in violation of Labor Code

25   §1174 and IWC Wage Order No. 4 § 7(A).

26          144.    As a result of Defendants’ knowing, willful, and intentional failure to provide proper meal

27   and rest breaks, Plaintiffs and the Class members are entitled to recover one (1) additional hour of pay at

28   the employee’s regular rate of pay for each work day that a meal and/or rest period was not provided,

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                                COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 20 of 29




 1   pursuant to Labor Code § 226.7 and 1WC Wage Order No. 4 § 11(D), and penalties, reasonable attorneys’

 2   fees, and costs pursuant to Labor Code §§ 218.5.

 3          145.    Defendants’ wrongful and illegal conduct in failing to provide Plaintiffs and the putative

 4   Class members with meal or rest breaks or to provide premium compensation, unless and until enjoined

 5   by order of this Court, will continue to cause great and irreparable injury to Plaintiffs and the Class

 6   members in that Defendants will continue to violate these laws unless specifically ordered to comply with

 7   the same. The expectation of future violations will require current and future employees to repeatedly and

 8   continuously seek legal redress in order to gain compensation to which they are already entitled. Plaintiffs

 9   and the Class members have no other adequate remedy at law to insure future compliance with the laws

10   alleged herein to have been violated.

11          146. Wherefore, Plaintiffs demand, pursuant to Labor Code Section 227.7(b), that Defendants

12   pay each Class member one additional hour of pay at the Class member’s regular rate of compensation

13   for each work day that the meal and/or rest period was not provided.

14                                                   COUNT V

15                     VIOLATION OF CALIFORNIA LABOR CODE § 226 and 1174
16                     FAILURE TO PROVIDE ACCURATE WAGE STATEMENTS
            147.    Plaintiffs re-allege and incorporate all previous paragraphs herein.
17
            148.    Labor Code §§ 226 and 1174 provide that every employer shall, semi-monthly or at the
18
     time of payment of wages, furnish each employee, either as a detachable part of the check or separately,
19
     an accurate, itemized statement in writing showing the total hours worked, and the applicable hourly rates
20
     and corresponding total number of hours worked.
21
            149.    At all relevant times, Defendants failed to maintain proper records and furnish Plaintiffs
22
     and the putative Class members, either semi-monthly or at the time of each payment of wages, an accurate,
23
     itemized statement conforming to the requirements of Labor Code §§ 226 and 1174.
24
            150.    At all relevant times, Defendants failed to furnish Plaintiffs and the putative Class members
25
     with accurate wage statements in writing, showing: (1) gross wages earned; (2) total hours worked by
26
     each respective employee; (3) all deductions; (4) net wages earned; (5) the inclusive dates of the period
27
     for which the employee is paid; (6) the name of the employee and only the last four digits of his or her
28

                                                    19
                             COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 21 of 29




 1   social security number or an employee identification number; (7) the name and address of the legal entity

 2   that is the employer; and (8) all applicable hourly rates in effect during the pay period and the

 3   corresponding number of hours worked at each hourly rate.

 4           151. Plaintiffs are informed and believe that Defendants knew or should have known that

 5   Plaintiffs and the putative Class members were entitled to receive wage statements compliant with Labor

 6   Code § 226 and 1174, and that Defendants willfully and intentionally failed to provide Plaintiffs and the

 7   Class members with such accurate, itemized statements showing, for example, accurate hours and

 8   overtime calculations.

 9           152. Wherefore Plaintiffs demand that Defendants pay each and every Class member fifty dollars

10   ($50.00) for the initial pay period in which the violation occurred and one hundred dollars ($100) for each

11   subsequent violation, up to a maximum of four thousand dollars ($4,000.00) pursuant to Labor Code §

12   226, as well as reasonable attorneys’ fees and costs.

13                                                   COUNT VI

14                        VIOLATION OF CALIFORNIA LABOR CODE § 2802
                    FAILURE TO INDEMNIFY EMPLOYEES’ EXPENSES AND LOSSES
15
             153.    Plaintiffs re-allege and incorporate all previous paragraphs herein.
16
             154.    California Labor Code § 2802 provides that an employer shall indemnify his or her
17
     employee for all necessary expenditures or losses incurred by the employee in direct consequence of the
18
     discharge of his or her duties.
19
             155.    During all relevant times, Defendants knowingly and willfully violated California Labor
20
     Code § 2802 by failing to pay Plaintiffs and putative Class members who are no longer employed by
21
     Defendants all expenses and losses owed as alleged herein. Defendants are therefore liable to Plaintiffs
22
     and putative Class members for expenses and losses incurred in direct consequence of the discharge of
23
     Plaintiffs’ job duties.
24
             156.    Therefore, Plaintiffs demand that Defendants pay all expenses and losses due along with
25
     all other available relief.
26
27
28

                                                      20
                               COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                 Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 22 of 29



                                                   COUNT VII
 1
                       VIOLATION OF CALIFORNIA LABOR CODE §§ 201, 202, 203
 2                             FAILURE TO PAY WAGES WHEN DUE
 3          157. Plaintiffs re-allege and incorporate all previous paragraphs herein.
 4          158. Cal. Lab. Code § 200 provides that:
 5          As used in this article:(a) “Wages” includes all amounts for labor performed by employees
 6          of every description, whether the amount is fixed or ascertained by the standard of time,
            task, piece, Commission basis, or other method of calculation. (b) “Labor” includes labor,
 7          work, or service whether rendered or performed under contract, subcontract, partnership,
            station plan, or other agreement if the labor to be paid for is performed personally by the
 8          person demanding payment.
 9          159. Cal. Lab. Code § 201 provides, in relevant part, that “If an employer discharges an
10   employee, the wages earned and unpaid at the time of discharge are due and payable.”
11          160. Cal. Lab. Code § 202 provides, in relevant part, that:
12
            If an employee not having a written contract for a definite period quits his or her
13          employment, his or her wages shall become due and payable not later than 72 hours
            thereafter, unless the employee has given 72 hours previous notice of his or her intention
14          to quit, in which case the employee is entitled to his or her wages at the time of quitting.
            Notwithstanding any other provision of law, an employee who quits without providing a
15
            72-hour notice shall be entitled to receive payment by mail if he or she so requests and
16          designates a mailing address. The date of the mailing shall constitute the date of payment
            for purposes of the requirement to provide payment within 72 hours of the notice of quitting
17          immediately.”
18          161. There was no definite term in Plaintiffs’ or any the other cannabis workers’ employment
19   contract.
20          162. The employment of Plaintiffs and many other cannabis workers was terminated and
21   Defendants did not tender payment of overtime wages to these employees who actually worked overtime,
22   as required by law.
23          163. Therefore, as provided by Cal Lab. Code § 203, on behalf of themselves and the putative
24   Class whose employment has ended, Plaintiffs demand up to thirty (30) days of pay as penalty for not
25   paying all wages due at time of termination for all employees whose employment terminated during the
26   class period, and demand an accounting and payment of all wages due, plus interest and statutory costs as
27   allowed by law.
28

                                                   21
                            COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                 Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 23 of 29




 1                                                    COUNT VIII

 2                  VIOLATION OF BUSINESS AND PROFESSIONS CODE, § 17200, et seq.
 3             164. Plaintiffs re-allege and incorporate all previous paragraphs herein.
 4             165. Defendants engaged and continue to engage in unfair business practices in California by
 5   practicing, employing, and utilizing the unlawful practices described above, including: (a) training and
 6   directing cannabis workers to work without compensation; (b) making deductions to cannabis workers’
 7   pay to recover overtime premiums earned by the employees; (c) requiring cannabis workers to work
 8   overtime without lawful premium compensation; (d) failing to provide lawful meal breaks or premium
 9   compensation in lieu thereof; (e) failing to provide accurate, itemized wage statements; and (f) failing to
10   pay wages due upon separation from employment.
11             166. In addition, the conduct alleged in each of the previously stated causes of action constitute
12   an unlawful and for unfair business practice within the meaning of Business & Professions Code § 17200,
13   et seq.
14             167. As a result of Defendants’ conduct, Plaintiffs and the Class have been harmed as described
15   in the allegations set forth above.
16             168. The actions described above constitute false, unfair, fraudulent and deceptive business
17   practices within the meaning of California Business & Professions Code § 17200, el seq. By and through
18   such unfair, unlawful and/or fraudulent business practices, Defendants obtained valuable property, money
19   and services from Plaintiffs and the Class, and have deprived Plaintiffs and the Class fundamental rights and
20   privileges guaranteed to all employees under California law.
21             169. Defendants were unjustly enriched by the policies and practices described herein, and those
22   policies and practices conferred an unfair business advantage on Defendants over other businesses providing
23   similar services which routinely comply with the requirements of California law.
24             170. Plaintiffs seek, on their own behalf, and on behalf of the putative Class members, full
25   restitution of all monies withheld, acquired and/or converted by Defendants by means of the unfair
26   practices complained of herein, as necessary and according to proof, and/or disgorgement of all profits
27   acquired by Defendants by means of the acts and practices described herein.
28             171. Plaintiffs seek, on their own behalf, and on behalf of other Class members similarly situated, an

                                                      22
                               COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 24 of 29




 1   injunction to prohibit Defendants from continuing to engage in the unfair business practices complained of

 2   herein. Defendants’ unlawful conduct, as described above, unless and until enjoined and restrained by order

 3   of this Court, will cause great and irreparable injury to Plaintiffs and all Class members in that Defendants will

 4   continue to violate these California laws unless specifically ordered to comply with the same. This expectation

 5   of future violations will require current and future employees to repeatedly and continuously seek legal redress

 6   in order to gain compensation to which they are entitled under California law. Plaintiffs have no other adequate

 7   remedy at law to insure future compliance with the California labor laws and wage orders alleged to have been

 8   violated herein.
                                                        COUNT IX
 9
10                            PRIVATE ATTORNEYS GENERAL ACT (“PAGA”)
                           VIOLATION OF CALIFORNIA LABOR CODE § 2698, et seq.
11
             172.       Plaintiffs re-allege and incorporate all previous paragraphs herein.
12
             173.       Plaintiffs are “aggrieved employees” under PAGA, as they were employed by Defendants
13
14   during the applicable statutory period and suffered one or more of the Labor Code violations herein. As

15   such, Plaintiffs seek to recover, on behalf of themselves and all other current and former aggrieved
16
     employees of Defendants (“PAGA Group”), the civil penalties provided by PAGA, plus reasonable
17
     attorneys’ fees and costs.
18
             174.       Plaintiffs seek to recover the PAGA civil penalties through a representative action
19
20   permitted by PAGA and the California Supreme Court in Arias v. Superior Court, 46 Cal. 4th 969 (2009).

21   Therefore, class certification of the PAGA claims is not required, but Plaintiffs may choose to seek
22   certification of the PAGA claims.
23
             175.       Plaintiffs seek to pursue remedies pursuant to PAGA for the following violations:
24
                               a. Failure to Pay Overtime: Defendants unlawfully failed to pay Plaintiffs and the
25                                PAGA Group overtime compensation in violation of Cal. Labor Code §§ 223,
                                  510, 1194, 1197.1, 1198 and California Wage Order No. 4-2001.
26
27                             b. Failure to Pay Minimum Wages and Regular Wages: Defendants unlawfully
                                  failed to pay Plaintiffs and the PAGA Group minimum wage and regular wage
28                                compensation in violation of Cal. Labor Code §§ 223, 1194, 1197, 1197.1 and
                                  California Wage Order No. 4-2001.
                                                       23
                                COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
               Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 25 of 29




 1                          c. Payment of Wages Below Designated Rate and Taking of Unlawful
 2                             Deductions: Defendants unlawfully paid Plaintiffs and the PAGA Group at
                               below the designated rate in violation of California Wage Order No. 4-2001 and
 3                             Cal. Labor Code §§ 221 and 223, as detailed herein.

 4                          d. Failure to Provide Meal Breaks: Defendants unlawfully failed to provide
                               Plantiffs and the PAGA Group meal breaks as required by Cal. Labor Code
 5                             226.7, 512, and California Wage Order No. 4-2001.
 6
                            e. Failure to Provide Complete and Accurate Wage Statements: Defendants
 7                             failed to provide complete and accurate wage statements containing all wages
                               due to Plaintiffs and the PAGA Group, in violation of California Wage Order
 8                             No. 4-2001 and Cal. Labor Code § 226(a), as detailed herein.
 9                          f. Failure to Keep Accurate Payroll Records: Defendants failed to provide
10                             complete and accurate wage statements regarding all wages due to Plaintiffs
                               and the PAGA Group, in violation of California Wage Order No. 4-2001 and
11                             Cal. Labor Code § 1174, et seq., as detailed herein.
12                          g. Failure to Pay Wages Upon Separation of Employment: Defendants failed to
                               pay wages due to Plaintiffs and the PAGA Group upon the separation of their
13
                               employment, in violation of Cal. Labor Code § 203, as detailed herein.
14
            176.    California Labor Code § 2698, et seq. imposes a civil penalty of one hundred dollars ($100)
15
     per pay period, per aggrieved employee for the initial violation of Labor Code §§ 203, 221, 223, 226,
16
17   226.7, 510, 512, 1174, 1194, 1197, 1197.1, and 1198, and two hundred dollars ($200) for each aggrieved

18   employee per pay period for each subsequent violation.
19          177.    Plaintiffs have taken steps to ensure full compliance with the procedural requirements
20
     specified in California Labor Code 2699.3 as to each of the alleged violations. On November 21, 2019,
21
     Plaintiffs provided notice to the LWDA and the employers of Plaintiffs’ claims based on the alleged Labor
22
     Code violations, including the facts and theories supporting these claims.
23
24          178. Enforcement of statutory provisions to protect workers and to ensure proper and prompt

25   payment of wages is a fundamental public interest. Plaintiffs’ successful enforcement of important rights
26   affecting the public interest will confer a significant benefit upon the general public. Private enforcement
27
     of these rights is necessary, as no public agency has pursued enforcement. Plaintiffs are incurring a
28
     financial burden in pursuing this action, and it would be against the interest of justice to require the
                                                    24
                             COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
              Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 26 of 29




     payment of attorneys’ fees and costs from any recovery obtained, pursuant to, inter alia, California Labor
 1
 2   Code § 2699.

 3                                                  COUNT X
 4                  BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
 5
            179.    Plaintiffs re-allege and incorporate all previous paragraphs herein.
 6          180.    A special relationship existed between Plaintiffs and Defendants as employee and
 7   employer.
 8          181.    The employment relationship between the parties included an implied covenant of good
 9   faith and fair dealing, which required Defendant to act with fairness toward the other and to refrain from

10   any action that would prevent Plaintiffs from realizing the potential benefits of their employment.
            182.    Plaintiffs and the other cannabis workers agreed to work on an hourly basis.
11
            183.    Defendants breached the covenant by limiting and manipulating the amount of pay to
12
     cannabis workers for their hard work.
13
            184.    For example, when hiring cannabis workers, Defendants did not advise the Cannabis
14   workers that they would be essentially stuck on a farm, getting paid cash in an informal and untimely
15   basis, and that their pay would otherwise be subject to limitations and other manipulations. It was implied
16   that the cannabis workers would receive an hourly rate for all hours worked, including overtime pay, free

17   from improper limits and manipulation by Defendants.
            185.    By reason of said breach, Plaintiffs performance was materially hindered to the point of
18
     being impossible as promised, represented and contemplated at the time of hire, and they sustained
19
     damages in the form of monetary losses.
20
                                                    COUNT XI
21
                         DETRIMENTAL RELIANCE/PROMISSORY ESTOPPEL
22
            186.    Plaintiffs re-allege and incorporate all previous paragraphs herein.
23
            187.    As more fully stated herein, Defendants made promises to the Plaintiffs and other cannabis
24
     workers, specifically to provide them with an hourly rate of pay, but ultimately failed to pay them in a
25
     lawful manner.
26
            188.    In reliance on Defendants’ promise of a lawful hourly rate for all hours worked, Plaintiffs
27   and other cannabis workers decided to cultivate, harvest, and trim cannabis for Defendants rather than
28   pursue other more lucrative employment endeavors.

                                                   25
                            COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                 Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 27 of 29




            189.     Plaintiffs expended their limited time, money, and other resources in pursuit of and for the
 1
     benefit of Defendants’ interest.       Plaintiffs did so due to a reasonable reliance on Defendants’
 2
     representations, including, but not limited to, those made in the employment offer.
 3
            190.     Had Defendants’ above-described representations not induced Plaintiffs’ subsequent
 4   actions and reliance thereon, Plaintiffs’ limited resources would have been available to be used in a more
 5   profitable manner.
 6          191.     As a direct and proximate result of Defendants’ actions, Plaintiffs have suffered damages
 7   such as monetary income.
 8                                             PRAYER FOR RELIEF
 9
            WHEREFORE, Plaintiffs, on behalf of themselves and the putative Collective and Class members,
10
     request the following relief:
11
12          a.       Certifying this case as a collective action in accordance with 29 U.S.C. § 216(b) with
                     respect to the FLSA claims set forth above;
13
            b.       Designating the named Plaintiffs as representative of the proposed FLSA collective;
14
            c.       Ordering Defendants to disclose in computer format, or in print if no computer readable
15
                     format is available, the names and addresses of all those individuals who are similarly
16                   situated, and permitting Plaintiffs to send notice of this action to all those similarly situated
                     individuals including the publishing of notice in a manner that is reasonably calculated to
17                   apprise the potential class members of their rights under the FLSA;
18
            d.       Certifying the proposed Rule 23 Class;
19
            e.       Designating Plaintiffs as representatives of the proposed Rule 23 Class;
20
            f.       Appointing Plaintiffs’ counsel as Class Counsel;
21
22          g.       Declaring that Defendants willfully violated the Fair Labor Standards Act and its attendant
                     regulations as set forth above;
23
            h.       Granting judgment in favor of Plaintiffs and against Defendants and awarding the amount
24                   of unpaid overtime wages calculated at the applicable overtime rate multiplied by all hours
25                   that Plaintiffs worked in excess of eight (8) hours per day, twelve (12) hours per day, and/or
                     forty (40) hours per week for the past four years;
26
            i.       Awarding liquidated damages in an amount equal to the amount of unpaid overtime wages
27                   found due and owing;
28
            j.       For statutory and civil penalties pursuant to Labor Code §§ 203, 225.5, 226(e), 226.3,
                                                     26
                              COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
                 Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 28 of 29




                     226.7, and 2802;
 1
 2          k.       For disgorgement and restitution to Plaintiffs and other similarly effected Class members
                     of all funds unlawfully acquired by Defendants by means of any acts or practices declared
 3                   by this Court to violate the mandate established by California Business and Professions
                     Code § 17200, et seq.;
 4
            l.       For the appointment of a receiver to receive, manage and distribute any and all funds
 5
                     disgorged from Defendants and determined to have been wrongfully acquired by Defendants
 6                   as a result of violations of California Business and Professions Code § 17200, et seq.;

 7          m.       For an injunction prohibiting Defendants from engaging in the unfair business practices
                     complained of herein;
 8
 9          n.       For an injunction requiring Defendants to give notice to persons to whom restitution is
                     owing of the means by which to file for restitution;
10
            o.       For actual damages or statutory penalties according to proof as set forth in California Labor
11                   Code §§ 226, 1174, and IWC Wage Order No. 4, § 7(A) related to record keeping;
12
            p.       For an order requiring Defendants to show cause, if any there be, why they should not be
13                   enjoined and ordered to comply with the applicable California Industrial Welfare
                     Commission wage orders related to record keeping for Defendants’ employees related to
14                   same; and for an order enjoining and restraining Defendants and their cannabis workers,
15                   servants and employees related thereto;

16          q.       For pre-judgment interest as allowed by California Labor Code §§ 218.6, 1194 and 2802(b)
                     and California Civil Code § 3287 and other statutes;
17
            r.       Awarding civil penalties pursuant to California Labor Code § 2698, et seq.;
18
19          s.       For reasonable attorneys’ fees, expenses, and costs as provided by the FLSA, California
                     Labor Code §§ 218.5, 226(e) and (g), 1194, 2802 and California Code of Civil Procedure
20                   § 1021.5; and
21          t.       For such other and further relief the Court may deem just and proper.
22
23                                                JURY DEMAND
24          Plaintiffs, individually and on behalf of all others similarly situated, by and through their attorneys,
25   hereby demand a trial by jury pursuant to Rule 38 of the Federal Rules of Civil Procedure and the court
26   rules and statutes made and provided with respect to the above entitled cause.
27
28

                                                    27
                             COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
             Case 3:19-cv-07665-RS Document 1 Filed 11/21/19 Page 29 of 29



     Dated: November 21, 2019             Respectfully submitted,
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                         COLLECTIVE AND CLASS COMPLAINT AND JURY DEMAND
